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FORBEARANCE AGREEMENT ANI) STIPULATION OF REP.¢:\YMENT ARRANGEMENT

Borrower(s) Name(s): Daniel l"lernandez and Sara M. Lloret, Hu`sl:iand and wife

Seeured Property: 6330 Coolidge Strect, Hollywood FL 33024

Loan Number: _
Effeetive Date of Agreement: May 1,2014
Unpaid Prineipal Balance of Mortgage: $l64,292.46

MGC Mortgage lne the current Servieer on behalf of the current holdor, LPP Mortgage Ltd.

(collectively herein, “Lender”) and Daniel l-lernandez and Sara M. l loret, Husband and wife (collectivcly
“Borrowers ) agree as follows:

The mortgage loan account is in defattlt, the full amount of the indebtedness has been accelerated and the
Leuder has begun exercising default remedies provided by the mortgage documents which may include legal
action1 collections and foreclosure (“Defau|t Remedies"`). At the request of you, the Borrower, and based upon
representations of the Borrower in this Agreement., the Lender will agree to forbear from continuing the

Default Remedies for a certain period of time if the Borrower agrees to the following conditions:

t. Borrower agrees to make future payments on the mortgage loan account as follows:

a_ Twelve equal monthly payments each totaling $l,'£}d.'fti

b. Paymenl shall begin on l\/lay l_, 2014; payment shall be due on or before the lgt of the month. The

final payment will be due on or before April l, ?.Ol fi.

e_ All payments should be sent directly to:

MGC Asset Loss Mitigation
425 Phillips Blvd.
Ewing NJ 08618

All payments must be in the form of certified funds and made payable to MGC, and include the
Loan `Number on each installment.

2. lt is expressly understood and agreed that time shall be of the essence as to each payment required to
be made by Borrower pursuant to this agreement For all payments there shall be no grace period. Failure

to make timely payments shall be considered in default as to the terms of this agreement and the
foreclosure action shall eontinue.

3. lt is expressly understood that any increase in monthly payments resulting from increase in ARM
adjustment or escrow payments are to be imposed and paid prior to the loan becoming current.

4. lt is expressly understood and agreed that in the event Borrower fails to make any of thc payments
required herein, said failure constitutes the default as to the terms of this agreement and Lender, at its sole

option, may continue the foreclosure action without further notice to Borrower. Credit shall be given for
any payments made consistent with the terms of this Agreement.

5. lt is expressly understood and agreed that should Borrower convey title of the mortgaged premises,
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Borrcwer shall be considered in default as to the terms of this agreement and the foreclosure action shall
eonnnue. ' `

6. 'it is expressly understood and agreed that the default forming the basis of the foreclosure action is not
cured or waived by the acceptance ot`any monies paid hereundcr.

7. It is expressly understood and agreed that failure of Lender to declare a default upon breach of this

agreement by Borrower shall not constitute a waiver or estoppel with respect to any future breach or
defaultl

3. Borrower agrees that she/he has no defense, setoff or counterclaim against the Lender_, the
loan Serviccr, sub-Servicer, or any of the Lender"s, Servicer’s_. or sub-Servicers
agents, successors or assigns with respect to the default or her/her obligations under the note
and mortgagel The Servicer and Lender are relying upon Borrower‘s representations in this

Agreement and would not otherwise enter into this Agreement except for Borrower's
representations agreements and promises to pay. ` -"

9. lt is expressly understood and agreed that Borrower shall keep thereat property taxes as to the

mortgaged premises current Faiiure to keep the real property taxes current and,'or permitting a tax lien to

attach to the property shall be considered in default as to the terms of. this agreement and the foreclosure
action shall continue.

l(l. lt is expressly understood and agreed that this agreement is a trial payment period plan. Completion of
this agreement does not constitute full payment of the amounts currently due to reinstate the mortgagel If
Borrower completes the trial payment period plan described in Paragraph l herein_, Lender will review the
mortgage to qualify for a permanent loan modificationl "

 

 

 

 

 

 

Dated: L--l |Z<i§ll l"'l Dated:
ieiHernande orrower
}(B 'l`itle: '
Dated: \-l lz<`d l l"l jr MGC Mortgage, Ine. the current Servicer on

-" -- behalf of the current holder, l..PP Mortgage Ltd.,
B)’.‘_/”E;£~f fV/. b%c% Lender ii

 

Sara M, Lloret, Borrower

STATE OF -_~L__ sTATe or .
cooNTv or fri/angela f COUNTY OF

SWOR.N TO AND SUBSCRIBED before me this
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Isq ll ,,~.,§ ;c,;§/f`gg'l ;;. who is

personally known to me or produced

SWORN 'l`O AND SUBSCR]'B`E.D before me this
day of `- , 2014 by

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known to lne or produced identification

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